   122024         Case 3:24-cv-09330-TSH                                Document 1-2                      Filed 12/23/24                  Page 1 of 2
                                                                                  CIVIL COVER SHEET
This    does not             The information on this        
                    . Instructions are on the reverse of this form.

I. PLAINTIFF(S)                                                                                            DEFENDANT(S)
                                                                                                           Department of Homeland Security and
 Lawyers' Committee for Civil Rights of the San Francisco Bay Area
                                                                                                           United States Immigration and Customs Enforcement

      Plaintiff:                                                                   Defendant:
Leave blank in cases where United States is plaintiff.   San Francisco                                     Use ONLY in cases where United States is plaintiff.

 or Pro Se Litigant Information (Firm Name, Address, and Telephone Number)                         Defendant's ' Name and Contact Information (if known)
 Nixon Peabody LLP, One Embarcadero Center, 18th Flr.
 San Francisco, CA 94111

II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III.     CAUSE OF ACTION
                                                                           : (Use jurisdictional statutes only for diversity)
                                                   (U.S. Government Not a Party)
                                                                                                           5 U.S.C. § 552
                     4     Diversity
                                                                                                              case Freedom of Information Act Violations

 IV.         NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                 TORTS                                     FORFEITURE/PENALTY                     BANKRUPTCY                      OTHER STATUTES
                              PERSONAL INJURY                    PERSONAL INJURY                                                
                                                                                                                                          
                                                                    
                                                                                                                                                      
                                           
                                                                                 LABOR                      PROPERTY RIGHTS                    
                                            
      Overpayment                                                                                                                               
                                                                                                    
        & Enforcement of                                                                                                                                       
                                                                                                                    
       Judgment                                                                                                                                           
                                                                                                                               
                                                                  
                                                                                                                         
                                                     PERSONAL PROPERTY                                                                                         
                                                                                                              
                                                                                                                                                              
                                                                                                                 880 Defend Trade Secrets
                                                            
                                                                                                                   Act of 2016                      
                                                                 
                                                                                                                                         
                                                                                                                                     SOCIAL SECURITY
                                                                                                                                                                
       of                                                                                              
                                                                                                                                                 
                                                                                    IMMIGRATION                                     
                                                                                                                                 
                                             CIVIL RIGHTS                  PRISONER PETITIONS
                                                                                                            
                                                                                                                                                                  
                                                                              HABEAS CORPUS                    
                                                                                                                                                          
                                                                                        
          REAL PROPERTY                                                                                                            FEDERAL TAX SUITS                   
                                                                              
                                                                                                                       
                                                                                                                                                              
                                                              
                                                                                                                                           
                                                       
                                                                                                                                         26 U.S.C.                   
                                                                       OTHER
                                                                                                                                                             
                                                                                                                                               
                  
                                                                                                                                                                       
                                                                                                                                                                    
                                                                           560 Civil Detainee–
                                                                                
                                                                               

 V.          ORIGIN (Place an “X” in One Box Only)
                                                                                                                                                                               Litigation–Transfer
      Original         Removed from          Remanded from Appellate          Reinstated or           Another District
                                                                                                                                                                              Multidistrict  


 VI. FOR DIVERSITY CASES ONLY:                                                                VII.         REQUESTED IN COMPLAINT
     CITIZENSHIP OF PRINCIPAL PARTIES
          (Place an “X” in One Box for Plaintiff                                                   Check if the complaint contains a jury demand.
Plaintiff Defendant                                                                                Check if the complaint contains a monetary demand. Amount: $
                 Citizen of California
                                                                                                   Check if the complaint seeks class action status under Fed. R. Civ. P. .
                      Citizen of Another State
                                                                                                   Check if the complaint seeks a nationwide injunction or Administrative Procedure Act vacatur.
                      Citizen or Subject of a Foreign Country

                      Incorporated or Principal Place of Business In California
                      Incorporated and Principal Place of Business In Another State

                      Foreign Nation

 VIII. RELATED CASE(S) OR MDL CASE
             Provide case name(s), number(s), and presiding judge(s).


 IX.        DIVISIONAL ASSIGNMENT pursuant to Civil Local Rule 3-2
            (Place an “X” in One Box Only) SAN FRANCISCO/OAKLAND                                                             SAN JOSE                            EUREKA-MCKINLEYVILLE


 DATE 12/23/2024                                   SIGNATURE OF ATTORNEY OR PRO SE LITIGANT /s/ Matthew A. Richards
                      Case 3:24-cv-09330-TSH
   122024                                          Document 1-2              Filed 12/23/24             Page 2 of 2

                                                     COMPLETING THE CIVIL COVER SHEET

C    
 I.    Plaintiffs-Defendants.                     the
       full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
       official, giving both name and title.
       County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
       time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. In land
       condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.
       Attorney/Pro Se Litigant Information. Enter the firm name, address, telephone number, and email for attorney of record or pro se litigant. If there
       are several individuals, list them on an attachment.

 II.   Jurisdiction. Under Federal Rule of Civil Procedure 8(a), pleadings must establish the basis of jurisdiction. If multiple bases for jurisdiction apply,
       prioritize them in the order listed:
       (1) United States plaintiff     ...     for s filed  the United States, its  or 
       (2) United States defendant. Applies when the United States, its agencies, or officers are defendants
       (3) Federal question Select this option when jurisdiction is based on 28 U.S.C. § 1331 for cases involving the U.S. Constitution, its amendments,
           federal laws, or treaties (but use choices 1 or 2 if the United States is a party).
       (4) Diversity of citizenship. Select this option when jurisdiction is based on 28 U.S.C. § 1332 for cases between citizens of different states and
           complete Section VI to specify the parties’ citizenship. Note: Federal question jurisdiction takes precedence over diversity jurisdiction.
 III. Cause of Action. Enter the statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
      unless jurisdiction is based on diversity. Example: U.S. Civil Statute: 47 U.S.C. § 553. Brief Description: Unauthorized reception of cable service.
 IV. Nature of Suit. Check one of the boxes. If the case fits more than one nature of suit, select the most definitive or predominant.
 V.    Origin. Check    :
       (1) Original Proceedings        
       (2) Removed from State Court                ...    
                  
       (3) Remanded from Appellate Court             , using      
            date.
       (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
       (5) Transferred from Another District. Check this box for cases transferred under Title 28 U.S.C. § 1404(a). Do not use this for within-district
           transfers or multidistrict litigation (MDL) transfers.
       (6) Multidistrict Litigation Transfer. Check this box when a multidistrict (MDL) case is transferred into the district under authority of Title 28
           U.S.C. § 1407.
       (7) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
 VI. Residence (citizenship) of Principal Parties. Mark for each principal party only if jurisdiction is based on diversity of citizenship.
 VII. Requested in Complaint.
       (1) Jury demand. Check this box if plaintiff's complaint demanded a jury trial.
       (2) Monetary demand. For cases demanding monetary relief, check this box and enter the actual dollar amount being demanded.
       (3) Class action. Check this box if plaintiff is filing a class action under Federal Rule of Civil Procedure 23.
       (4) Nationwide injunction. Check this box if plaintiff is seeking a nationwide injunction or nationwide vacatur pursuant to the Administrative
           Procedures Act.
 VIII.   Related Cases. If there are related pending case(s), provide the case name(s) and number(s) and the name(s) of the presiding judge(s). If a short-
     form MDL complaint is being filed, furnish the MDL case name and number.
 IX. Divisional Assignment. Identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the events or
     omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.” Note that
     case assignment is made without regard for division in the following case types: Property Rights (Patent, Trademark and Copyright), Prisoner
     Petitions, Securities Class Actions, Anti-Trust, Bankruptcy, Social Security, and Tax.
